Case 2:05-Cv-02186-.]PI\/|-tmp Document 23 Filed 07/07/05 Page 1 of 4 Page|D 26
IN THE UNITED STATES DISTRICT COURT

Fll-EB BY ug§ o.c.
FoR THE wEsTERN DISTRICT 0F TENNESSEE '
wEsTERN DIvIsIoN 05 JUL "7 PH 3= 118

 

WBW€SM.GU.D
CLEK US D?GTRU(XJLBT

PEARL J. PIGUES, WiD OF?€\S.PENH-ES

Plaintiff,
V. NO. 05-2186 Ml/P

NO. l USED CARS,

Defendant.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(£), a Rule 16(b) Scheduling Order
was entered on June B, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last three to five (3-5) days, is set to begin Mondayl
Aoril 3, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Tuesdayl March 28, 2006
at 9:00 a.m.

3. The joint pretrial order and proposed jury instructions
and voir dire questions are due by no later than 4:30

p.m. on March 21c 2006.

This document entered on the docket s_ t |n compliance
with mule 53 and/or 19(3) FRCP on Z;QS

 

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this 17 day Of July, 2005.

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J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CV-02186 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

